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                      EXHIBIT 4
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                     UNITED STATES DISTRICT COURT
                    NORTHERN DISTRICT OF CALIFORNIA
                           SAN JOSE DIVISION


    LINCOLN JONES, JR. and MUYESSER )
    NILE JONES, individually and as )
    trustees of the Lincoln and     )
    M. Nile Jones Revocable Trust;  )
    and PROJECT SENTINEL, INC.,     )
                                    )
                  Plaintiffs,       )
                                    )
           vs.                      )Case No.
                                    )5:13-cv-02390-LHK
    TRAVELERS CASUALTY INSURANCE    )
    COMPANY OF AMERICA,             )
                                    )
                  Defendant.        )
    ________________________________)




      DEPOSITION OF PERSON MOST KNOWLEDGEABLE FOR TRAVELERS

       CASUALTY INSURANCE COMPANY OF AMERICA, BRADLEY WOOD

                        Costa Mesa, California

                              June 17, 2014




    Reported by:
    DENISE HERFT
    CSR No. 12983




                                                                   1
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 1                  UNITED STATES DISTRICT COURT
 2                 NORTHERN DISTRICT OF CALIFORNIA
 3                         SAN JOSE DIVISION
 4
 5   LINCOLN JONES, JR. and MUYESSER )
     NILE JONES, individually and as )
 6   trustees of the Lincoln and     )
     M. Nile Jones Revocable Trust;  )
 7   and PROJECT SENTINEL, INC.,     )
                                     )
 8                 Plaintiffs,       )
                                     )
 9          vs.                      )Case No.
                                     )5:13-cv-02390-LHK
10   TRAVELERS CASUALTY INSURANCE    )
     COMPANY OF AMERICA,             )
11                                   )
                   Defendant.        )
12   ________________________________)
13
14
15
16
17
18             DEPOSITION OF PERSON MOST KNOWLEDGEABLE
19   FOR TRAVELERS CASUALTY INSURANCE COMPANY OF
20   AMERICA, BRADLEY WOOD, taken on behalf of the
21   Plaintiffs at 151 Kalmus Drive, Suite L-1,
22   Costa Mesa, California, commencing at 9:36 a.m. on
23   June 17, 2014, reported by DENISE HERFT, CSR No.
24   12983, pursuant to Notice.
25



                                                                   2
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 1   Brancart, and I am the attorney who represents the

 2   plaintiffs.

 3              THE VIDEOGRAPHER:    Will the court reporter

 4   please swear in the witness.

 5

 6                           BRADLEY WOOD,

 7   called as a witness, and having been first duly sworn

 8   by the Certified Shorthand Reporter, was examined and

 9   testified as follows:

10

11                             EXAMINATION

12   BY MR. BRANCART:

13        Q     Sir, would you please state your full name

14   and spell it.

15        A     First name Bradley, B-r-a-d-l-e-y, middle

16   name Quiring, Q-u-i-r-i-n-g, last name Wood,

17   W-o-o-d.

18        Q     Mr. Wood, in the course of your work for

19   Travelers, you commonly go by the first name of

20   Brad; is that correct?

21        A     That's correct.

22        Q     Would you please state your current

23   business address.

24        A     It is 21688 Gateway Center Drive, Diamond

25   Bar, California 91765.



                                                                   10
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 1   limit this question to 25, what document do you

 2   have that would provide an answer to topic number

 3   25?

 4              MR. PETERSON:    Object to the form of the

 5   question as stating the question; argumentative.

 6              THE WITNESS:    I don't know that we have a

 7   document that says NIS, specifically sales

 8   insurance to landlords who rent apartment

 9   buildings.

10   BY MR. BRANCART:

11         Q    Okay.   Do you have any knowledge of that?

12         A    I do.

13         Q    And what is the knowledge you have?

14         A    Just over the six or seven years of

15   working with the agency and the business that they

16   have submitted over that time has predominantly

17   been apartments.

18         Q    Okay.   Other than that, do you have any

19   other knowledge of the number or rate or percentage

20   of insurance policies placed by NIS with Travelers,

21   our Apartment Pac policies?

22         A    I would believe it is significant and

23   probably north of 90 percent of our Apartment Pac.

24   They are recognized as an apartment writer for

25   Travelers, and I believe their Website mentions



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 1   habitational writings as their core product.

 2        Q    Okay.   I'm going to show you Exhibit 85.

 3   Can you identify what Exhibit 85 is?

 4        A    It's an agency production report that

 5   highlights the premiums that the agency has placed

 6   with Travelers.      It also spells out new business

 7   and losses and loss ratios for the current year to

 8   date and prior full year.      As you mentioned

 9   earlier, if the agent did business with any other

10   business unit, there would be premiums indicated in

11   those other business units within BI.

12        Q    This is a report for NIS; correct?

13        A    Correct.

14        Q    And NIS has a master agency code which is

15   upper left 0CHK04; correct?

16        A    That's correct.

17        Q    And any activity between Travelers and NIS

18   that results in issuance of a policy or

19   declinations or referrals is coded off of that --

20   receives that code; correct?

21        A    Correct.

22        Q    That information through the IENet or

23   Travelers Express is populated into some kind of

24   database electronically; true?

25             MR. PETERSON:     Objection; lacks



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 1   procedures?

 2        A      Not to my knowledge.

 3        Q      Would you turn to the second page of

 4   Exhibit 115, and it says, "Purpose," and the third

 5   line there says, quote, The ARN has been expanded

 6   to include all business insurance with the

 7   exception of discovery Re national accounts and

 8   Northland/Northfield; do you see that?

 9        A      Yes.

10        Q      Why is it that -- what is it about these

11   accounts discovery Re national accounts and

12   Northland, slash, Northfield that excludes them

13   from the ARN procedure?

14               MR. PETERSON:    Objection; no foundation;

15   beyond the scope.

16               THE WITNESS:    I'm not sure.

17   BY MR. BRANCART:

18        Q      What is the relationship between Travelers

19   and Northland/Northfield?

20               MR. PETERSON:    Objection; beyond the

21   scope; no foundation.

22               THE WITNESS:    Northland is a specialized

23   business unit that focuses on higher hazard type of

24   operations and one thing that comes to mind is

25   trucking.     Why these three are specifically



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 1

 2

 3                                 *****

 4

 5             I do solemnly swear under penalty of perjury

 6   that the foregoing is my deposition under oath;

 7   are the questions asked of me and my answers thereto;

 8   that I have read same and have made the necessary

 9   corrections, additions, or changes to my answers that I

10   deem necessary.

11

12             In witness thereof, I hereby subscribe my name

13   this ______ day of ___________________, 20___.

14

15

16                               ______________________
                                    Bradley Wood
17

18

19

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21

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23

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 1                             CERTIFICATE

 2                                  OF

 3                    CERTIFIED SHORTHAND REPORTER

 4

 5                 I, the undersigned, Certified Shorthand

 6   Reporter of the State of California do hereby certify:

 7                 That the foregoing proceedings were taken

 8   before me at the time and place therein set forth; that

 9   any witnesses in the foregoing proceedings, prior to

10   testifying, were placed under oath; that a verbatim

11   record of the proceedings was made by me using machine

12   shorthand which was thereafter transcribed under my

13   direction; further, that the foregoing is an accurate

14   transcription thereof.

15                    I further certify that I am neither

16   financially interested in the action nor a relative of

17   employee of any attorney of any of the parties.

18                    IN WITNESS WHEREOF, I have this date

19   subscribed my name_________________________.

20

21

22                     Dated:___June 17, 2014_____

23

24                           Certificate Number 12983

25



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